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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al.
Plaintiffs,
vs. No. CIV 8-90-0520 LKK JFM P
ARNOLD SCHWARZENEGGER, et al.

Defendants

SEVENTEENTH MONITORING REPORT OF THE SPECIAL MASTER
ON THE DEFENDANTS’ COMPLIANCE WITH
PROVISIONALLY APPROVED
PLANS, POLICIES AND PROTOCOLS

PART C

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IN THE UNITED STATES DISTRICT COURT
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SEVENTEENTH MONITORING REPORT OF THE SPECIAL MASTER
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PLANS, POLICIES AND PROTOCOLS

PART C

This report provides the third installment of the 17" round review of the
California Department of Corrections and Rehabilitation’s (CDCR’s) compliance with
the plans, policies and protocols provisionally approved by the court in mid-1997. While
the court formally approved the bulk of the revised Program Guide containing enhanced
standards for mental health care applicable in all CDCR institutions in March 2006 and
the defendants published their plan for the adoption of the new guidelines in April, much
of the summer was consumed in a struggle to obtain sufficient additional mental health
staffing to implement them effectively. That effort succeeded during the special
legislative session at summer’s end, but the 551 additionally allocated permanent and
temporary mental health positions took months to appear at the institutional level, and the

recruitment of clinicians to fill them still proceeds extremely slowly.
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Part C focuses on the 18 CDCR institutions not covered in Parts A and B
of the 17 round report and addresses four different categories of institutions. The first
category, women’s institutions, includes California Institution for Women (CIW), Central
California Women’s Facility (CCWF) and Valley State Prison for Women (VSPW). The
second category includes four institutions whose principal function is the reception and
processing of inmates newly arriving in CDCR or returning to the department on charges
involving parole violation(s), namely, California Institution for Men (CIM), Deuel
Vocational Institution (DVI), North Kern State Prison (NKSP) and Wasco State Prison
(WSP).

The third category contains the only three institutions in CDCR with
Security Housing Units (SHUs), including California Correctional Institution (CCN,
California State Prison, Corcoran (CSP/Corcoran) and Pelican Bay State Prison (PBSP).
The last and largest category contains eight institutions, all characterized by relatively
few mental health programs and small Mental Health Services Delivery System
(MHSDS) caseloads. This group includes five desert facilities, where caseload inmates
are not supposed to be sent because of the deleterious impact of high heat on individuals
on many prescribed psychotropic medications. The desert institutions include California
Correctional Center (CCC), Calipatria State Prison (CAL), Centinela State Prison (CEN),
Chuckawalla Valley State Prison (CVSP) and Ironwood State Prison (ISP). Three other
institutions in this category are California Rehabilitation Center (CRC), which has a
small co-ed population and no administrative segregation unit; Folsom, which lacks an
Outpatient Housing Unit and sends its inmates in crisis next door to California State

Prison, Sacramento (CSP/Sac); and Kern Valley State Prison (K VSP), which opened in
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2005 and has developed only slowly its mental health staffing and programming, opening
its MHCB unit, for example, only on the eve of the monitor’s mid-2006 visit.

In contrast with the institutions represented in the first two installments,
which each covered fairly similar mental health programs and populations, the eighteen
institutions whose compliance is reviewed in this report include collectively the whole
array of components of CDCR’s mental health services delivery system. Every aspect of
mental health treatment is represented among these institutions, from the Correctional
Clinical Case Management System (3CMS) to Enhanced Outpatient Programs (EOPs)
and Mental Health Crisis Bed (MHCB) units, as well as access to Department of Mental
Health (DMH) acute and intermediate inpatient programs and the delivery of mental
health programming in Outpatient Housing Units (OHUs), administrative segregation,
Security Housing Units (SHUs) and Psychiatric Services Units (PSUs).

The general format for this report repeats the one adapted in the first two
installments. An institutional summary of compliance for each covered CDCR institution
is provided, including a description of current staffing and staffing vacancies; a list of
resolved Corrective Action Plan (CAP) problems when appropriate; discussion of the
institution’s progress, or lack of progress, in meeting requirements related to quality
management, medication management, mental health input into the disciplinary process
and transfers to more intensive levels of mental health care; identification of as yet
unresolved problems cited in the institution’s CAP and targeted for elimination; and a
brief summary of the institution’s overall performance during the monitoring period. A
comparative analysis of compliance among all 18 covered facilities follows, along with

recommendations gleaned from the analysis.
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As in the past, administrators and mental health staff at the visited
institutions cooperated fully with the monitoring process. Also, while the data collected
and findings discussed in this report are the product of many members of different
monitoring teams, references to various monitors throughout this report will be singular
rather than plural. Clinical judgments of the monitor’s psychiatric experts are explicitly
attributed to an expert.

California Correctional Center (CCC)
Paper Review

CCC’s long-vacant sole psychiatry position was covered adequately by an
estimated one to three hours of telemedicine per month. One of two allocated
psychology positions was vacant. It was covered by contractual staff for just six weeks.
The three psych tech positions and a clerical position were filled long-term. Medical
technical assistant (MTA) functional vacancies were reduced to 25 percent by contractual
coverage. Two of four positions in the pharmacy were vacant but covered by contractors.
Only two caseload inmates, both treated at the correctional clinical case manager system
(3CMS) level of care and housed in general population, were at CCC.

Quality Management:

Quality management was slightly more consistent than during previous
monitoring periods. The local governing body was comprised of two administrators who
met nearly every month. The quality management committee met monthly and its
members spanned health care disciplines. The warden was the only custody member of
the quality management committee. There was no mental health subcommittee.
Documents showed that four quality improvement teams (QITs) were active during the

monitoring period. None concerned or impacted mental health services. There were too
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few mental health clinicians to have peer review. Suicide prevention committee meetings
occurred approximately monthly and had interdisciplinary membership. Agendas
included suicide prevention information and the status of caseload inmates at CCC.
Medication Management:

Medication continuity was typically good, but there may have been a
problem with timely renewal of medication orders. A nursing audit found full
compliance on general medications being renewed timely and delivered within a day of
the order during one quarter, but at only a 70 percent rate during the second quarter.
Mental health staff reported that they reliably received information from bus screenings
about the small number of inmates who arrived on psychotropics. They hand-carried the
necessary paperwork (through ordering and filling). Staff previously described a
reasonable procedure designed to sustain medication continuity when inmates’ housing
changed, but the audit results may not have been sufficiently reliable.

Typically, mental health staff was informed of an inmate’s first-time
medication non-compliance. Nursing audits found only one inmate who met the non-
compliance criteria and he reportedly was seen timely. A psychologist reportedly
participated in telemedicine appointments, obtained informed consent and hand-carried
medication orders through the process. Staff reported that all psychotropics were ordered
direct observation therapy (DOT). Nursing staff reported no difficulty with proper
administration of the small number of DOT orders. HS orders were permitted by policy

but rarely needed.
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Staff previously described a reasonable procedure to provide a supply of
medication upon parole. Audits indicated that it worked. No mental health services
delivery system (MHSDS) inmates had been paroled from CCC since 2003.

Mental Health Assessments for the Disciplinary Process:

Among the 1,800 rule violation reports (RVRs) written during the
monitoring period, only one was written for an MHSDS inmate, and he received a mental
health assessment. Two non-caseload inmates were referred for mental health
assessments because of self-injury or bizarre behavior. The mental health assessments
provided useful information without excessive use of jargon. Hearing officers
documented how the results of mental health assessments contributed to the decisions
made in each case. In one case the penalty was mitigated due to mental health factors.
Documents did not include any RVRs issued for masturbation or indecent exposure
(TEX).

Transfers:

CCC did not refer to the department of mental health (ODMH). Three
inmates were sent to a mental health crisis bed (MHCB). All were housed in the
outpatient housing unit (OHU) less than 72 hours and transferred within 24 hours of
referral. In total, 11 inmates were placed in the OHU for mental health reasons. OHU
stays were shorter than during the previous monitoring period. Nine inmates were
discharged timely; two remained in the OHU longer than 72 hours. One stayed for five
days and the second, an unstable enhanced outpatient program (EOP) inmate, lived in the
OHU for 17 days. Staff reported that suicide risk assessments were done in the OHU and

inmates who returned from MHCBs were seen for five-day follow-up. Documentation
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was unavailable in three cases because the inmates were transferred. Because of the low
number of admissions and rapid transfers, holding cells were not used.

Fewer MHSDS inmates were at CCC than in the past. During the
monitoring period, only 14 inmates were designated 3CMS at CCC and six caseload
inmates were inappropriately transferred to CCC while already on caseload. Transfers
continued to be timely. On average, transfer cases were endorsed in 13 days, with the
longest taking 35 days. Transfers were completed, on average, in 25 days, with the
longest taking 45 days. All of the inappropriate transfers were sent out within the
required timeframe, except for one who was dispatched four days late. Only one case
involved an EOP inmate. There were no lengthy stays in administrative segregation.

Other Corrective Action Plan (CAP) Issues:

There was substantial improvement in laboratory testing, CCC’s sole
remaining CAP item. A log documented that lab tests were ordered for all inmates who
needed them. All blood draws were done in seven days or less, except for one inmate
who refused repeatedly. Laboratory results were reviewed within the same timeframe.
The paper review did not capture practices regarding dosage changes in response to
results.

Although response to referrals was generally timely, there were significant
lapses. A number of referrals made by staff were not received by mental health staff in a
timely manner, including referrals triggered by bus screenings. Mental health staff saw
77 percent of referrals within seven days, and about 97 percent within two weeks. The

longest response lapse stretched to eight weeks due to delayed transmission of referrals.
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Documents indicated that administrative segregation rounds were done
daily with the exception of seven days when rounds were not made due to staff absences.
Logs showed that 89 percent of inmates placed in administrative segregation were
screened within three days. The remaining screenings took up to six days and occurred
when large groups of inmates were placed in administrative segregation at the same time.

A CAP related to a 2004 suicide was carried out. All but a handful of
custody staff had been trained in the CPR policy. It appeared that CPR and emergency
response equipment was commonly checked and available in the housing units, although
documentation showed gaps, and some equipment was occasionally omitted.

Institutional Summary:

Fewer MHSDS inmates were at CCC than in the past. Only 14 inmates
were designated 3CMS at CCC during the monitoring period, and six caseload inmates
were inappropriately transferred to CCC while already on the caseload. All indications
were that CCC maintained its previous levels of compliance and continued to make
improvements. CCC did a good job of transferring caseload inmates elsewhere
expeditiously and adhered to requirements for lab tests, bringing its sole remaining CAP
problem into compliance. Quality management was adequate for a program of its size.
A staff audit indicated that renewal of medication orders may have become problematic.
Positive bus screenings did not always reach mental health staff, resulting in untoward
delays in initial mental health evaluations of new arrivals. Too many screenings of
inmates placed in administrative segregation were late and rounds were missed seven

times.
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California Correctional Institution (CCD
April 3, 2006 — April 4, 2006

CCI was successful at obtaining contractual staff to cover vacancy rates
of 40 to 54 percent among psychiatrists and psychologists, respectively. Staff at CCI
reported that CCI had one senior psychiatry position, which was vacant, and 6.5 staff
psychiatry positions, 3.5 of which were vacant but covered by contractors.

Staff reported that the institution had 19.84 staff psychology positions, of
which 7.84 were vacant. All but the equivalent of .34 of a psychology position was
covered by interns and contractual staff. The positions of chief psychologist and two
senior supervising psychology positions were filled. The sole psych social worker
position was filled, as were positions for seven psych techs and 11.5 clerical staff. Staff
believed that the number of mental health positions allocated was too small in light of the
size of the MHSDS caseload and the demands of the institution.

CCI’s census was 5,668, with 1,612 MHSDS inmates. In October 2005,
CCI’s MHSDS capacity was increased to 1,349 and an additional half-time psychology
position was allocated. The mental health caseload was 19 percent over its capacity. The
MHSDS roster included 42 EOP inmates, 13 of whom were in administrative segregation
and nine of whom were in the security housing unit (SHU). There were 115 3CMS
inmates in administrative segregation and 178 3CMS inmates in the SHU. The reception

center census was 1,090, of which 169 were 3CMS and 12 were EOP inmates.

Issues Resolved:

Medication orders were renewed timely by psychiatrists.

Inmates in administrative segregation and the SHU were administered
medication DOT.
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Medication orders that specified evening delivery were administered in the
evening.

Mental health tracking system (MHTS) contact information was
considered accurate enough to be useful.

CCI transferred inmates in crisis to an MHCB.

Quality Management:

The mental health quality management committee continued to meet every
two weeks. Minutes were kept. Five QITs were chartered during the monitoring period.
Psychiatrists remained uninvolved in most quality management activities due to staffing
shortages. Numerous CAP items were audited regularly. Audit results were informative
and thoroughly documented although some sample sizes were small. Peer review
remained infrequent and rudimentary.

A small sample found a 98 percent concordance rate between MHTS and
unit health record (UHR) entries. Staff believed that the MHTS was accurate enough to
be useful, resolving that problem.

Five-day follow-up contacts were audited monthly. Staff audits found that
94 to 97 percent of five-day follow-up visits were made, with missed contacts attributed
to occasional unscheduled leave taken by staff who worked weekends.

Medication Management:

Medication management continued to improve incrementally, as
evidenced by the resolution of two CAP items related to the administration of medication.
Most audits of medication management were done by nursing staff. Audits were
typically broad in scope rather than focused on those issues most germane to MHSDS

inmates. More narrowly focused audits were done by mental health staff.

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Audits showed that medication was administered DOT to inmates in
administrative segregation and the SHU, resolving that CAP item. Medication orders that
specified HS evening delivery were administered in the evening rather than in the
afternoon, resolving that CAP item.

Mental health staff audited timely medication renewals by psychiatrists on
a quarterly basis, with each quarter sampling less than ten percent of the MHSDS cases
but including all yards. Based on the results of those audits, the problem of timely
renewal of medication orders written by psychiatrists was resolved. Audits found that
psychiatrists renewed orders prior to expiration 92 to 100 percent of the time. Bridge
orders were rarely used.

Staff audited response to non-compliance with medication quarterly.
Many referrals were received by mental health staff, but procedures for making and

responding to referrals were not fully implemented.

Blood levels of inmates on mood stabilizers were not monitored
appropriately. Lab tests associated with the use of psychotropics were not always
ordered when appropriate. A February 2006 status report indicated that compliance rates
ranged from 28 to 100 percent.

CCI had no local procedure regarding HS orders. Roughly five percent of

the caseload had HS orders. HS medication was reportedly administered after 8:00 p.m.

Staff audits of parole medication found monthly compliance rates of 82
and 98 percent in November and December 2005, respectively. Mental health staff saw

nearly every caseload inmate for a pre-parole counseling session before release.

Mental Health Assessments for the Disciplinary Process:

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From November 5, 2005 through February 2006, 965 RVRs were issued,
355 of them to MHSDS inmates. 3CMS inmates accounted for 335 RVRs and EOP
inmates incurred 20. CCI developed and implemented a local procedure for custody staff
that seemed to work well. At the direction of the warden, the chief disciplinary officer
reviewed all cases in which mental health assessments found that mental illness played a
role and decided whether the charge should be adjudicated. Mental health assessments
contained relevant information, were useful to hearing officers and made an impact in
disciplinary processes involving mentally ill inmates.

The record keeping, screening and evaluation process regarding RVRs
issued for sexual misconduct needed improvement. Available records indicated that ten
RVRs for sexual misconduct were issued between November 2005 and April 2006. Staff
was unable to provide information regarding the status of seven of the ten cases. The
remaining three cases had mental health evaluations. One inmate was diagnosed with
exhibitionism, one was found not to meet the criteria and the result of one evaluation was
pending. The inmate diagnosed with exhibitionism was subsequently transferred to
California State Prison- Los Angeles County (CSP/LAC), where it was determined that
he did not meet the criteria. Approximately 12 mmates were identified as appropriate
recipients of treatment related to sexual misconduct. A clinician who had no specialized
training in treating sexual misconduct provided medication management and individual
treatment. Group treatment was unavailable due to logistical obstacles.

Transfers:

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All three referrals to DMH were made during or shortly before the
monitor’s visit. Two were in process during the monitor’s visit. A third inmate had been
referred but remained in the OHU.

CCI transferred six inmates to MHCBs. Although 36 referrals were
considered, 22 were removed from the list for clinical reasons.

At the time of the monitor’s visit there were three inmates in the OHU.
The OHU was staffed by two psychiatrists, representing roughly 30 percent of the
psychiatry resources at CCI. The OHU was busy, with 94 admissions, an average of 23
per month, between November 5, 2005 and February 28, 2006. Lengths of stay were
usually within timeframes, with just 11 stays lasting longer than three days from August
through January 2005. A number of inmates had multiple OHU admissions, but exactly
how many was unknown. Restraints were used on occasion in the OHU, but no log was
maintained. Anecdotal information also suggested that practices related to the use of
restraints needed improvement.

EOP transfers continued to be delayed. Staff attributed transfer delays to lack
of beds at receiving institutions. Records listed 23 EOP inmates who were transferred
since September 2005. Ten were slated for expedited transfer. Four were transferred
within 30 days; six had exceeded deadlines by 29 to 104 days at the time of the monitor’s
visit, primarily due to lack of beds at CSP/LAC to which they were endorsed. Six more
were transferred within transfer timelines.

None of the 12 EOP inmates in the reception center at the time of the

monitor’s visit had lengths of stay over 60 days. Of 157 3CMS inmates in the reception

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center, 17 had lengths of stay over 90 days, with the longest stay in excess of nine

months.

Other CAP Issues:

A total of 13 mental health groups were offered in all locations with the
exception of the reception center, bringing that CAP item into compliance. Group
treatment was generally described by inmates in favorable terms. However, the group
sessions attended by inmates who were locked down met in a noisy setting that precluded
confidentiality and adversely affected the group process. The problem of lack of group
treatment will be considered resolved if compliance is sustained.

Caseloads ranged from highs of 150 to 200 in Level I and II yards down to
40 to 50 in high security yards, administrative segregation and the SHU. MHTS audits
found that initial mental health evaluations and initial inter-disciplinary treatment team
(IDTF) meetings were timely 90 percent of the time. IDTT meetings were not, however,
always attended by a full team, as psychiatrists and correctional counselors were often
absent. The monitor’s expert observed meetings attended by a psychology intem, a
correctional counselor and a psychiatrist who was not the treating psychiatrist.
Interdisciplinary discussion and participation by inmates were minimal. Confidentiality
was undermined by an open door and the presence of people nearby. Central files (C-
files) were not routinely available at meetings.

Routine referrals on average resulted in a contact within 7.3 calendar days.
Staff reported that emergency referrals were seen the same day and urgent referrals were

seen within 48 hours, save for rare exceptions.

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Mental health staff reported good working relationships with the custody
staff and increased cooperation regarding escorts. However, staff reported that there
were not enough officers available to escort inmates to treatment.
Health care records were reportedly unavailable for appointments an
estimated 30 to 40 percent of the time. The backlog of filing in medical records was
estimated to be about one month.

Other Issues:

Rounds made in the SHU by psych techs were consistent with
requirements; rounds made in administrative segregation were deficient. Weekly
summaries of rounds were not routinely documented in UHRs. Inmates in administrative
segregation were afforded less than the mandated amount of yard time. All outdoor yards
in administrative segregation were walk-alone yards. CCI did not have enough walk-
alone yards to offer outdoor yard to all inmates in administrative segregation.

Case managers saw caseload inmates in administrative segregation
weekly. Records showed that on average 60 percent of weekly contacts were made in a
confidential setting and 40 percent were cell-front contacts. Staff attributed the high
number of cell-front contacts to staff shortages, lack of escort staff on weekends and
inmate refusals. Although two treatment groups were running in administrative
segregation, group treatment was not available to all caseload inmates for whom it was
clinically indicated.

Cell searches when inmates left for treatment were reportedly
commonplace. A high refusal rate for out-of-cell contacts was attributed in part to the

timing of cell searches. Staff reported that inmates voiced concerns about missing

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property, including eyeglasses, which was often lost or unavailable. Staff reported that
property restrictions during inmates’ first year in the SHU prohibited access to television
and radio. Because there was no mobile library, library books were largely inaccessible
to SHU inmates.

Regarding emergency responses, staff reported that 39 staff members had
not received CPR training as of April 4, 2006. Six were slated to be trained soon after the
monitor’s visit. The remaining 33 were on extended leave and had not yet returned to
work.

The monitor’s tour of selected housing units found that ambu-bags, cut-
down scissors and mouth shields were available on the units. Inventories done at the
beginning and end of watches were co-signed by supervisors. There was no written
procedure covering replacement of mouth shields. Staff reported that replacement mouth
shields were available in control units, offices and clinics located in the yards.
Institutional Summary:

CCI was successful at obtaining contractual staff to cover vacancy rates of
40 to 54 percent among psychiatrists and psychologists. The caseload was 19 percent
over capacity. Although most mental health positions were either filled or covered by
contractual staff, there was no senior psychiatrist. Staffing shortfalls were a frequent
explanation for non-compliance with Program Guide requirements. CCI attempted to
compensate for lowered productivity associated with high security environments by
deploying case managers unevenly, concentrating them in high security facilities to the
detriment of large caseloads in lower security facilities. Caseloads ranged from highs of

150 to 200 in Level I and II yards down to 40 to 50 in high security yards, administrative

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segregation and the SHU. Staff believed that the number of mental health positions
allocated was too small in light of the size of the caseload and the demands of the
institution.

Despite lack of staff, heavy reliance upon contractors and interns and a
far-flung site, CCI resolved five CAP problems and brought a sixth into compliance. A
total of 13 mental health groups were offered in all locations with the exception of the
reception center, bringing that CAP item into compliance. Group treatment was
generally described by inmates in favorable terms.

Improvement was evident in three of the four focal areas; the fourth was in
compliance. Quality management remained on track but lacked participation by
psychiatry and peer review. Medication management continued to improve. CCI’s
method of incorporating the results of mental health assessments into the disciplinary
process stood as an example worthy of emulation. The screening and evaluation process
for sexual misconduct RVRs needed improvement. CC] offered treatment for sexual
misconduct to inmates who needed it whether or not they were diagnosed with
exhibitionism.

CCI improved access to care by sending six inmates to MHCBs but
needed to remain vigilant by referring and transferring all inmates whose need for
treatment exceeded the limitations of an OHU. Inmates whose conditions warranted
referral to DMH needed to be referred when clinically warranted. Information regarding
the operations of the OHU was incomplete but indicated that it had as many admissions

as a typical MHCB.

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CCI continued to demonstrate compliance with temporal Program Guide
requirements, such as timely quarterly case manager contacts, timely IDTT meetings and
weekly case manager contacts with caseload inmates in administrative segregation.
Quality, however, was often compromised by cell-front contacts, lack of suitable
treatment space, lack of confidentiality, lack of psychiatric coverage, absent treatment
team members, poor access to C-files and UHRs and incomplete or missing
documentation of recent treatment.

Psychiatrists infrequently attended IDTT meetings, nor were they involved
in quality management activities. Roughly 30 percent of the psychiatry resources were
dedicated to the OHU. Too many psychiatry contacts made in high security settings were
made cell-front. Two medication management problems persisted, including a lack of
guidance on the use of HS orders and under-use of lab tests to monitor the use of
psychotropic medication. Both issues might reasonably be attributed to lack of a senior
psychiatrist and the use of contractual staff to compensate for a 40 percent psychiatric
vacanicy rate.

Rounds made in the SHU by psych techs were consistent with
requirements; rounds made in administrative segregation were deficient. Weekly
summaries of rounds were not routinely documented in UHRs. Inmates in administrative
segregation were afforded less than the mandated amount of yard time. CCI did not have
enough walk-alone yards to offer outdoor yard to all inmates in administrative
segregation.

CCI needed more psychiatric supervision, better psychiatric practices and

a reduction in the size of caseloads in lower security yards. A collaborative examination

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of treatment space and schedules in locked-down units was needed to determine the
frequency with which confidential contacts, including group meetings, occurred and the
number of inmates that can be treated effectively.

California Institution for Men (CIM)

May 15, 2006 — May 16, 2006
August 1, 2006

Psychiatry was fully staffed or covered, but psychology was short-staffed.
CIM had one vacant psychiatry position, which was covered by a contractor. There were
3.9 vacant line and supervisory psychology positions. Only one was covered by a
contractor. There was no contractual coverage of one vacant recreational therapist
position, 1.9 vacant psych tech positions or 1.3 clerical positions.

Following increases at the end of 2005, the size of the MHSDS caseload
remained constant between January and May 2006. In May the caseload census stood at
1,460 inmates, 166 at the EOP level of care. Roughly one third of 314 inmates in
administrative segregation were on the mental health caseload. There were 31 EOP and
67 3CMS inmates in administrative segregation.

CIM was swamped by demands that exceeded the physical and operational
capacity of the institution. Three areas with serious impact on the most severely mentally
ill inmates at CIM were a focus of monitoring attention. Staff devoted intensive efforts
to: (1) The provision of mental health treatment in administrative segregation; (2)
conditions in the MHCB and access to higher levels of care; and (3) tracking lengths of
stay of caseload inmates in the reception center. Progress was made in all three areas, but

did not achieve lasting or systemic improvement in two of the three areas.

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In administrative segregation the working relationship between mental

health and custody staff improved. More inmates were seen out-of-cell. In the MHCB
staff identified critical problems and began to address them. Staff made more referrals to
higher levels of care and more referrals resulted in transfers. Tracking of EOP inmates in
the reception center improved but was not be sustained due to inadequate staffing. The
number of inmates transferred to receiving institutions remained low but a larger
proportion was moved when staff tracked the cases more carefully.

Quality Management:

Quality management showed little improvement and the mental health
quality management committee did not meet every month, and meetings were poorly
attended, Following a change in leadership the committee met twice monthly.
Beginning in April the committee reviewed quarterly audits of medication management
and tallies of referrals to higher levels of care. QITs were not well documented. Four
QITs were concluded during the monitoring period. They addressed new arrivals with
Keyhea orders, MHTS, psychiatry follow-up and credentialing of MHCB staff. Some
QITs disbanded without issuing a clear recommendation or conclusion. Two active QITs
addressed problems in administrative segregation and in the MHCB. They did not use
the standard QIT process, but functioned rather as management meetings. All three
disciplines continued to conduct peer review. Peer review by psychologists was well
developed and well documented.

The suicide prevention committee met monthly. The composition of the
committee was deficient, and meetings were poorly attended. Some were held without

nurses or MTAs, Custody staff did not attend until March. Beginning in March the

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associate warden for healthcare attended, but was the sole custody representative. After
March, documentation improved and the committee was more active. The agenda was
expanded to include matters of importance to the institution. Logs of custody
observations and safety concerns associated with MHCB admissions were on the agenda.
Routine reviews of serious self-injuries and suicide attempts were more attentive. A
suicide driven CAP recommendation regarding the administration of involuntary
medication in the MHCB was issued late in 2005. Staff did not systematically collect
data on its implementation. In May there were anecdotal reports of continued problems.
The suicide prevention committee needed to review its mandate, cover all relevant topics
at meetings, beef up its composition and improve attendance.

Medication Management:

Medication management at CIM progressed in that staff performed audits
relied less on anecdotal accounts of lapses. Nursing staff conducted a series of large
audits of medication management. Audit results that applied to the entire population at
CIM or included enough caseload inmates to support a conclusion were reported to the
monitor in the context of the CAP.

Medication continuity upon arrival was problematic. An audit of 75
caseload inmates for whom orders were written in R&R found that 64 received
medication on the day of arrival or the following day. Nine orders written by
psychiatrists did not reach the pharmacy. Staff attributed the problem to an abbreviated
pharmacy schedule and too few nurses in R&R to write orders.

An audit of medication continuity when inmates were relocated within the

institution was small. In 13 of 17 cases medication was administered without

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interruption. In one case it was administered the following day. In three cases there was
no medical administration record (MAR) at the new location.

Medication orders were renewed in a timely manner, and informed
consent was obtained. In 11 of 78 cases the psychiatry note did not document a rationale
for a change in medication.

CIM did not have a functioning mechanism to detect and respond to non-
compliance with medication. Referrals were not consistently made, received and filed in
records, For unclear reasons, staff routinely body-searched minimum security inmates as
they waited in the pill line.

MARs were filed in medical records more reliably but they were
incomplete or illegible. A staff audit of 75 cases found that a MAR for the previous
month was filed in each. However, fewer than half were complete and legible.

The Keyhea coordinator reported that it was difficult to compile an
accurate list of inmates who had Keyhea orders. Staff attributed the problem to the lack
of a statewide list, lack of notification by sending institutions and problems with the bus
screening. There were anecdotal reports that correctional officers were not willing to
implement Keyhea orders when asked to do so in the MHCB.

Staff did not know how many caseload inmates on medication were
released on parole. A small audit found that four of five inmates who paroled signed for
a supply of medication when they were released.

‘Transfers:
CIM referred many more inmates to higher levels of care after the May

2006 monitoring visit. From November 2005 through April 2006, a period of 24 weeks,

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staff made 75 referrals to DMH; 39 to acute care and 36 to intermediate care. During the
ten weeks between May 15 and August 1 there were 64 referrals to DMH.

Access to acute care was poor. During a six month period just 19 of 33
inmates (57 percent) referred to acute care at DMH/Vacaville were actually transferred
there. Acute beds at Atascadero State Hospital (ASH) were not accessible. Six referrals
were made to acute care at ASH; none resulted in transfer. Staff reported that an acute
care referral to ASH required more information and was more time consuming to
complete than one made to the DMH acute care program at California Medical Facility
(DMH/CMF). The coordinated clinical assessment team (CCAT) team redirected some
of the acute care referrals made originally to ASH. Some acute care cases were sent to
intermediate care.

Access to DMH intermediate care was better. During a six month period,
30 of 36 inmates referred were transferred. ASH took 29 inmates. Nine referrals were
initially rejected but successfully appealed. The DMH intermediate program at Salinas
Valley State Prison (SVPP) accepted all five referrals, but only one inmate was
transferred. Four remained at CIM on a wait list. SVPP took 18 and 35 days to
communicate decisions regarding two of the referrals.

Mental health staff took too long to complete referrals. Cited in the past
for the delayed completion of referral paperwork, CIM tracked time elapsed between the
clinical decision to refer and completion of a referral. That information was not available
at most other institutions. Completion of paperwork for acute referrals took 13 days on
average. Intermediate referrals were completed in approximately 20 days. After the May

site visit, staff completed one third of all referrals within three days. Those referrals did

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not require case factor information. The remainder, the 70 percent that did require case
factors, were completed within 14 days. Dilatory responses to requests for case factor
information were one source of delay. In July staff reported that case factor information
had been provided more promptly since May.

Access to higher levels of care was also slowed by delays in DMH
responses and transportation. Decisions regarding referrals to acute care at DMH/CMF
were received in five days on average. In some cases DMH accepted a patient but asked
CIM to hold the inmate several days until a bed became available. CIM took six days on
average to transport accepted inmates to a DMH facility. Staff reported that some delays
were due to inmates being accepted on Fridays. Because transportation arrangements
could not be made until Monday they were not moved until Tuesday.

CIM rescinded or elected not to make referrals in many cases. A log of
referrals and delays was kept, but the information was not used effectively to speed
individual cases or address systemic barriers. Half of the inmates who needed acute care
were not referred. The bulk of them, 20, were not referred because they no longer needed
acute care. In 13 cases referrals were not made because the inmates’ parole dates were
imminent. Nine inmates were referred but not transferred to DMH because they paroled.
The number of inmates who needed acute care but did not receive it for one reason or
another was troubling.

Operations of the MHCB and access to higher levels of care were a focus
of attention during the monitoring period. Access to higher levels of care improved

during a period of enhanced attention. Operations in the MHCB did not improve.

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The number of inmates in crisis beds and their lengths of stay rose. There
were 1,176 admissions to MHCBs from November 2005 through July 2006. Licensed for
18 crisis beds, the MHCB portion of the General Acute Care Hospital (GACH) had an
average daily census of 31 from November 2005 through April 2006. The average daily
census rose to 35 from April through July. The average length of stay increased from six
days during the months of November, December and January to 7.65 days in February,
March and April. The average length of stay in April was 8.65 days. Stays measured in
weeks were not rare. Roughly half of inmates with excessive lengths of stay were
referred to DMH. Thirteen percent of inmates admitted to a crisis bed had three or more
admissions within a six month period. Roughly 25 percent of them were referred to
DMH.

Several factors impeded the provision of mental health treatment in the
MHCEB. Physical access to inmates placed in the GACH was poor. Clinicians did not
make out-of-cell contacts. There were no provisions for out-of-cell time even for inmates
who stayed for weeks. Recreational therapists were diverted elsewhere because they
were essentially unable to provide services to inmates in the GACH. MTAs were
frequently diverted from the hospital to cover pill lines. A written procedure, based on
faulty assumptions, required two escort officers to take an inmate out of a cell. Not
enough vests were available for staff required to wear them. IDTT meetings were not
attended by all disciplines and did not serve their purpose. The working relationship
between mental health and custody staff was strained. Teamwork collapsed particularly

in the administration of involuntary medication and the use of restraints. In emergencies

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that were not life threatening, medical staff was unable to arrange immediate
transportation. Conditions in the GACH were unsanitary.

Staff tried to improve conditions in the MHCB by requesting more
resources and revamping local procedures. CIM sought a staffing augmentation based on
a census of 36. Staff reported that the MHCB was staffed for 18 crisis beds. A QIT
chaired by the associate warden for healthcare was formed in March. Staff was revising
policies and procedures regarding out-of-cell contacts, tier time for inmates, and escorts.
The director of nursing planned to bring in enough contractual licensed vocational nurses
(LVNs) to cover pill lines rather than diverting MTAs from the hospital. Recreational
therapists were scheduled to return to the MHCB in August. More vests were supplied.
Staff reported that the quality of IDTT meetings had improved. Nurses attended most
meetings but custody staff was absent. No improvement in the cleanliness of the hospital
was anticipated. Only one full time janitorial position was allocated for the GACH.

A new policy regarding the use of holding cells in the hospital was in draft
form. Documentation of holding cell use was incomplete. Staff planned to use a holding
cell in a yard when an overnight stay by an MHCB inmate was necessary. Staff was
concemed about long waits in holding cells located in the hospital as well as in the yards.
Available written information and staff reports indicated that holding cells in the hospital
were sometimes occupied longer than four hours. It was not uncommon for an inmate,
who was sent to the MHCB by a case manager, to remain in a holding cell in a yard for a
long time before being taken to the hospital for evaluation. In one case reviewed by the
monitor’s expert (see Exhibit B, Case Review 1) an inmate who was sent to the MHCB

by mental health staff did not reach a crisis bed for at least ten hours.

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Cameras were not used to monitor inmates on watch. Local procedures
were revised in accordance with the department’s moratorium on the use of video
monitoring for suicide watch. Inmates on watch were observed one-to-one by a person.

CIM was unable to meet court ordered transfer timelines for caseload
inmates. Nor was it able to report accurately lengths of stay for caseload inmates.
Tracking EOP inmates in the reception center was one of three areas of focus during the
monitoring period. The institution assigned to a correctional counselor the task of
tracking how long EOP inmates remained in the reception center. Cases were tracked
manually because lengths of stay were recorded inaccurately in the automated system.

A total of 45 EOP inmates were transferred to receiving institutions during
the months of May, June and July. Their average length of stay in the reception center
was 115 days. Around 30 percent of EOP inmates in the reception center were never
endorsed for transfer because they paroled or were awaiting a parole date. Staff did not
calculate lengths of stay in those cases although raw data were available. More EOP
inmates were transferred when cases were tracked closely. The number of transfers per
month rose from five to 24. In May five EOP inmates were transferred. Sixteen were
moved in June. In July 24 EOP inmates were transferred. Staff reported that close
tracking of EOP cases could not be sustained due to staffing shortages.

Other CAP Issues:

a. Partial Compliance
Access to mental health treatment in administrative segregation improved.
Case manager contacts were spotty early in the year. After February all caseload inmates

were offered out-of-cell contacts weekly. On average half accepted the offer. EOP

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inmates were seen out-of-cell 62 percent of the time. A new procedure dropped the
refusal rate for all caseload inmates from 46 percent to 24 percent. A supervising
psychologist or designee rather than a correctional officer informed inmates that they had
a mental health appointment.

The working relationship between mental health and custody staff
improved. Custody staff reported that the number of incidents in administrative
segregation decreased. A QIT, staff changes, weekly meetings and detailed record
keeping were reportedly beneficial. The QIT functioned as a management meeting rather
than adhering to the standard quality management format. Logs of appointments
scheduled and completed were maintained by mental health staff. Officers kept logs of
how long inmates waited in holding cells for mental health appointments. A July audit
found that wait times averaged 29 to 40 minutes.

Psych techs made rounds daily. Staff reported that rounds were missed
once between mid-May and August. Review of a small number of UHRs found that
documentation of rounds was incomplete. Beginning in May thrice weekly showers for
inmates were assured. Inmates also had access to showers located in the yard.

Staff audited access to psychiatric treatment in March and April as
directed by the Office of the Inspector General. Results suggested that access was good.
Staff at two of three facilities did not provide information needed for the audits. The east
facility housed the largest number of caseload inmates but provided the least information.
Because audits did not include all of the required data the results were not conclusive,

although they suggested compliance.

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During March, 204 of 218 psychiatry appointments in the Central Facility
were kept; the 14 inmates who were not seen had been transferred elsewhere.
Psychiatrists also scheduled 65 inmates for follow-up visits in one week. Sixty-one were
seen as scheduled; the remaining four were seen over a week later. The April audit of the
Central Facility yielded similar results. Two other facilities did not provide data for the
March audit. A small audit of the Minimum Support Facility found that, in a sample of
five days, 110 of 124 psychiatry appointments were kept, while one week follow-up
appointments were kept in 78 of 85 surveyed cases. The only data provided by the East
Facility indicated that one week follow-up appointments were provided as scheduled. A
total of 775 psychiatry appointments were scheduled in April. Follow-up contacts were
made as scheduled in 140 of 152 cases. The monitor’s expert found at least one inmate in
administrative segregation who needed to be seen by psychiatry, but was not (see Exhibit
B, Case Review 2).

A second case (see Exhibit B, Case Review 3) raised concerns about
whether procedures at CIM ensured the delivery of mental health treatment to inmates
who needed it most. In that case, access to treatment was thwarted at many junctures.
The inmate was at CIM for roughly 15 weeks, during which documentation indicated he
was psychotic for at least 13 weeks. He was not identified when he arrived at CIM. An
urgent referral by custody staff did not elicit an adequate response by mental health staff.
He was psychotic for days or weeks before being sent to the MHCB. Once there, he was
referred to a higher level of care, but the referral was rescinded because he had an

imminent parole date. Three days before his release on parole he remained psychotic.

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The backlog of loose filing of medication records in April was 21 to 25
inches high, roughly equivalent to a lag of six to seven days. A January audit found that
70 percent of medical records requested for appointments were available. Access to
medical records was good in administrative segregation. The monitor’s expert reviewed
UHRs in which documents were missing. By policy, records of MHCB stays and
information on referrals to higher levels of care were not filed in UHRs.

The MHTS was used for management reports. Staff reported that early in
the monitoring period some contacts were not being entered into the MHTS. Staff
believed that MHTS reports accurately reflected contacts by May. Staff scored reception
center screenings manually and recently requested an electronic scoring system like the
one used at CSP/LAC. They received no response to that or earlier requests for an
electronic scoring system. The monitor’s expert reviewed a case (see Exhibit B, Case
Review 3) in which a mental health screening was not scored. The inmate did not come
to the attention of mental health staff until a correctional officer made an emergency
referral 12 days later.

Two more cases reviewed by the monitor’s expert raised questions about
how well CIM’s intake process identified inmates in need of mental health treatment.
There was no bus screening on file in one case (see Exhibit B, Case Review 2). In the
second case, the bus screening did not identify an inmate who was suicidal. He identified
himself when he was subsequently screened by mental health on the same day (see
Exhibit B, Case Review 1).

b. Non-Compliance

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Caseload inmates were not transferred from the reception center within
required timeframes.

Other Issues:

CIM’s implementation of the heat plan and compliance with orders
regarding CPR and emergency responses were examined during the monitor’s May visit.
Implementation of the heat plan improved but was inadequate in several important ways.
Local heat plan procedures were updated in April. Officers were noticeably better
informed about the heat plan. Flyers about risks associated with high temperatures were
posted in all but one of the housing units toured. Housing units had current lists of
inmates who were at risk. Inmates were recalled from yards during heat alerts. At CIM’s
East Facility, where many EOP inmates were housed, inmates reportedly waited outdoors
regularly for their medical and mental health appointments longer than 30 minutes in
areas with full sun exposure during heat alerts. In accordance with new local procedures,
temperatures were monitored with hand held thermometers that were recalibrated twice
annually. Correctional officers were required to check the warmest location in the unit.
Monitoring temperatures and using effective cooling measures remained problematic in
the East Facility. Although fans were located in the corridor, the solid cell doors
impeded air circulation. Temperatures were taken in the corridors but not in cells.
Temperatures in the corridors reached 94.7 degrees. During heat alerts inmates were
given cold water and more access to showers. Logs did not always note that medical
staff was called when Stage III was reached.

Records of temperatures were compiled centrally but heat alerts were not

tallied monthly or forwarded to central office. The monitor’s examination of temperature

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logs found numerous Stage II and Stage III heat alerts in July. Further improvement was
needed.

CIM had not yet revised its local procedure in accordance with the
department’s amended CPR policy. The monitor found sealed personal protective
equipment kits in all housing units toured. All officers who were interviewed were in
possession of a mouth shield. Staff provided contradictory accounts about procedures for
replacing mouth shields.

Of 890 custody staff at CIM, 36 had not been trained on the use of a
mouth shield, while 18 had not been trained on the amended CPR policy. Employees
who had not been trained were on leave. The in-service training (IST) sergeant said that
when employees returned from leave they could not report for duty until IST cleared
them. Staff was trained on the amended CPR policy, the use of mouth shields and other
required topics.

CIM’s emergency response review committee did not meet from
September 2005 to March 2006. The committee met monthly after March. Meetings
were well attended and lasted one to four hours. The composition of the committee
included the warden or warden’s designee, the healthcare manager, the health program
coordinator or supervising nurse, the chief psychiatrist, a captain and the coordinator of
the committee. Minutes provided brief descriptions of each incident and a conclusion on
whether timeframes were appropriately met and the requisite forms completed.
Institutional Summary:

CIM remained an institution in crisis. Intensive efforts devoted to three

specifically local issues during the period from May to August yielded some

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demonstrable benefits but left the institution’s ability to sustain the positive changes in
doubt. Unlike so many other California Department of Corrections and Rehabilitation
(CDCR) institutions, CIM’s problems were not primarily related to staffing. Vacancies
rose during the monitoring period, but CIM was still able to cover most of them with
contractors. The principal remaining staffing issue was whether existing allocations of
mental health were adequate; local administrators and staff believed them to be
inadequate.

Among the three areas of special institutional focus for the monitoring
team at CIM, mental health treatment in administrative segregation, where a combination
of enhanced collaboration and new procedures facilitated the delivery of mental health
services, seemed to improve. While conditions in the MHCB unit did not improve much
between May and August, an increasing number of seriously mentally ill inmates in the
unit was both referred and transferred to more intensive levels of mental health care.
CIM also demonstrated that it could move caseload inmates out of the reception center
more expeditiously. It remains to be seen whether these tentative improvements can be
sustained.

Quality management at CIM did not progress during the monitoring
period. Meetings were poorly attended; QITs rarely fulfilled their charters; and
documentation of quality management activities was inadequate. All three clinical
disciplines continued to conduct peer review. The suicide prevention committee met, but
custody participation was poor. The committee needed to review its mandate, cover all

relevant topics at meetings, beef up its composition and improve attendance.

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Similarly, medication management did not improve, although more audits
of medication issues were conducted during the monitoring period. Medication
continuity on arrival continued to be problematic. On the other hand, medication orders
were renewed in a timely manner, and psychiatrists regularly obtained informed
mediation consent. CIM did not have a mechanism to detect and respond to medication
non-compliance, a major deficiency.

Access to inpatient DMH programs was erratic. Transfers to intermediate
impatient DMH care improved, while access to acute DMH programs became
increasingly difficult and untimely. Acute beds at ASH were simply inaccessible; anyone
in need of acute care needed to be transferred to DMH/CMF. On the other hand, access
to intermediate DMH programs was easier, even to intermediate programs at ASH. CIM
clinicians often took way too long to make DMH referrals, and classification information
needed to complete referral packets was not provided timely. Custody staff often further
delayed transporting inmates once they were accepted for DMH programs.

Conditions in the MHCB unit were not conductive to the provision of
adequate mental health treatment. The number of inmates in crisis beds and their lengths
of stay continued to rise. The relationship between custody and mental health staff in the
unit was strained, resulting in the diversion of custody staff to other duties and limited
clinical access to inmates. The physical environment was unkempt and shoddy; the
hospital was unsanitary, and janitorial services were inadequate.

CIM had not yet revised its local procedures in line with the department’s
amended CPR policy. Staff, with the exception of personnel on extended leave, had been

trained in the revised departmental policy. Sealed personal protective equipment (PPE)

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kits were found in all housing units, and correctional officers regularly had microshields.
After a hiatus from September to March, CIM’s emergency response review committee

began to meet monthly.

California Institution for Women (CIW)
April 27, 2006 - April 28, 2006

Functional vacancy rates among psychiatrists, psychologists and psych
social workers were higher than in past reviews. One of 6.1 staff psychiatrist positions
was vacant and not covered by a contractor. Reportedly, a second vacancy was
imminent, A staff psychiatrist served as acting chief psychiatrist. The senior
psychiatrist position had been vacant for over a year.

The chief psychologist position was filled, but one of two senior
psychology positions was vacant. An additional half-time psychology position had been
allocated for the reception center. All 10.35 psychology positions were filled. Beginning
in March 2006 limited term contractors covered for two psychologists on long-term
leave. Two of the 4.5 psych social work positions were vacant and not covered by
contractors.

Two of five psych tech positions were vacant. A new hire was pending to
cover the vacant sole recreational therapist position. The senior MTA position and 12 of
14.15 line MTA positions were filled. Nursing was almost fully staffed with just 1.26
vacancies out of 45.26 positions. The pharmacy was fully staffed with four pharmacists
and two technicians. Positions for all three office techs, four office assistants, both
medical transcribers and seven medical records techs were also filled.

CIW’s census included 2,323 inmates, with 887 on the MHSDS caseload at

the time of the monitor’s visit. There were 763 3CMS inmates, of whom were in

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reception. Of 124 EOP inmates, 35 were in reception. There were 25 3CMS and three
EOP inmates among the 48 inmates housed in administrative segregation. Four caseload
inmates were in the OHU.

Quality Management:

Mental health quality management languished with the retirement of the
psychiatrist who had taken charge of most quality management activities. Supervisory
staff continued audits, but clinicians did not identify problems or participate in quality
management activities. QITs did not function as intended. Many mental health staff
reported that they were overburdened trying to meet minimum treatment requirements
and did not consider quality assurance activities to be a high priority.

The suicide prevention committee met regularly, covered required topics
and kept minutes which sometimes repeated language from past meetings. Meetings
were poorly attended, particularly by custody staff, RNs, MTAs or psych techs. The
committee tracked referrals to higher levels of care, OHU use, self-injuries, five-day
follow-up and transfers of EOP inmates to administrative segregation hubs. It reviewed
records of monthly cell searches to identify inmates who hoarded medication. It tried to
capture and review all cases of self-injury but missed occasional self-injuries that
occurred on weekends or did not result in incident reports.

Medication Management:

Medication management was a work in progress. Staff audits of

medication continuity on arrival found widely disparate compliance rates of 33 percent

and 90 percent, casting doubt on both findings.

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A December 2005 audit of continuity following intra-institutional transfers
found no interruption in 50 percent of surveyed cases, while a March 2006 audit found no
interruption in 80 percent of cases. Staff reported that lapses of one to two days were
common.

Medication non-compliance, an issue previously resolved, was audited and
reportedly continued to work well.

Reportedly pill lines were ten to 30 minutes in duration generally.
Awnings to shade inmates waiting in line had not yet arrived.

Nursing audits of MARs for completeness, accuracy, legibility and
standardized notation found compliance in only ten percent of annotated missed doses.
Half were illegible and incomplete. Half of audited UHRs lacked MARs for the prior
month. No medication errors had been reported since August 2005.

Three inmates were on current Keyhea orders and four others were at
other institutions for a higher level of care.

Contradictory information was reported on HS medication orders. The
Director of Nursing reported that HS medication could be administered only in the OHU,
but another source reported that CTW had 268 HS orders. Inmates confirmed that HS
medication was administered after 8:00 p.m.

Staff reported that 55 percent of paroling inmates with current medication

orders received a supply of medication or departure and signed receipts.

Mental Health Assessments in the Disciplinary Process:

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During the monitoring period out of 810 RVRs, 365 were issued to 3CMS
inmates, 54 to inmates in the OHU, MHCB unit or the EOP. Seven mental health
assessments were requested and completed for 3CMS inmates.

CIW continued to maintain complete logs and track mental health
assessments for the disciplinary process, but the individual assessments often lacked
relevant information. Staff reviewed C-files rarely. Case managers in administrative
segregation completed assessments for inmates on their own caseloads. Most
assessments did not consider or address referral to higher levels of care. In some cases,
assessments failed to report salient clinical information or evaluate the extent of
impairment of the inmate’s mental condition at the time of the offense.

Completed RVR packets indicated a lapse of supervisory oversight in the
adjudications. Although hearing officers always noted that assessments were considered,
findings often were not used appropriately. One hearing officer made many obvious but
apparently undetected errors, which should have been addressed by a supervisor. Most
completed RVR packets contained rote language about the assessment that frequently
conflicted with other documents in the case. In some cases documentation misstated the
content of the assessment. In others the assessment did not address the issue of sanctions,
but the hearing officer’s documentation stated that he or she concurred with the
clinician’s findings and accordingly reduced charges or mitigated sanctions.

In one case reviewed by the monitor, the hearing officer rejected the
findings of the assessment. The assessment reported that the inmate was uridergoing a
mentally disordered offender evaluation for likely transfer to Patton State Hospital (PSH)

and recommended against additional time to serve, which would obstruct access to more

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intensive treatment at PSH. The hearing officer wrote that she did not concur with the
assessment and found the inmate guilty.
Transfers:

Out of 17 referrals to DMH for intermediate care from November 1, 2005
through April 14, 2006, 14 were transferred, three were rejected and one was rescinded.
The referral log was comprehensive. Access to intermediate care was timely for both
endorsed and unendorsed (i.e., reception) inmates. Referrals were made within one or
two days of identification of a need for inpatient care. Most were accepted and
transferred within one week of identification. Lengths of stay were typically cight to ten
wecks with a range of five to 20 weeks. Communication between staff at CIW and PSH
on status of referrals was good.

PSH processing took one to five days, typically due to requests for
additional information, the unavailability of physicians and/or admissions personnel or a
lack of beds. CIW furnished requested information promptly

CIW made 22 referrals to MHCBs from November 1, 2005 through April
19, 2006, more than previously. All were accepted and transferred within 24 hours.
Records were complete.

During the same period, there were 373 admissions to the OHU, many for
overnight observation and about 20 percent lasting four days or longer. Average length
of stay was 2.11 days with a range of several hours to 14 days. DMH referrals accounted
for many but not most excessively long stays. Most admission and discharge decisions
were appropriate, notwithstanding the OHU’s lack of resources. Diagnoses and treatment

were hampered by insufficient custody staffing and fragmented psychiatry coverage. The

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OHU had six medical and eight mental health beds plus a cell reserved for restraint and
seclusion, Nursing call lights in inmate rooms were not operational. Staffing was
inadequate. Out-of-cell and confidential contacts were almost nonexistent. Suicide
prevention practices were problematic. Although post orders for suicide watches had
been modified they did not fully comply with documentation requirements in the revised
policy. Inmates on suicide watch were monitored one-to-one. Inmates on suicide
precautions were monitored via camera with acceptable monitor picture quality, but the
screen was divisible to show up to eight cells simultaneously and staff reportedly
assigned one medical assistant to watch up to six cells. The director of nursing reported
that she had addressed the problem of MTAs falling asleep during monitoring and their
confusion about obtaining relief coverage.

In an OHU case reviewed by the monitor’s expert, the inmate’s psychosis
went undetected over several days and two admissions. EOP treatment was not
responsive to her condition. After a physical altercation with her cellmate, which
resulted in a RVR, the mental health assessment reported that mental illness had not
influenced her behavior and found that she would have no difficulty understanding and
participating in the proceedings. The finding was rejected by the hearing officer (see
Exhibit C, Case Review 1).

Although problems with the documentation of restraint and seclusion were
previously resolved, documentation was found to be inadequate during the monitoring
period. No central restraint log was maintained in the OHU. The only documentation

was in individual medical records.

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All of the four EOP inmates who required transfer from administrative
segregation to a hub administrative segregation unit elsewhere were transferred within 30
days. EOP inmates on reception status were housed in the EOP unit with endorsed
inmates but had use of a smaller recreation yard and no indoor out-of-cell time, fewer
privileges and less treatment, averaging three to four hours per week. Average time for
endorsement of EOP inmates to general population was 57 days. Among 72 EOP
inmates processed in the reception center, timeframes were exceeded for 13, or 18
percent. Delays ranged from 62 to 103 days. Reasons for delay were within the
institution’s control in seven cases and not reported for the rest.

Other CAP Issues:

a. Partial compliance

Treatment of EOP inmates was inadequate due chiefly to understaffing
and limited opportunity for clinical contacts. Staff reported that efforts to demonstrate
compliance with the ten-hour minimum therapeutic requirement undermined the quality
of group treatment and the accuracy of its compliance accounting. Reception center EOP
inmates were offered up to three hours weekly and were not always seen weekly by a
case manager (see Exhibit C, Cases Reviews 3, 5). On paper, endorsed inmates were
offered ten to 12 hours of group treatment but realistically could participate in only five
to seven hours weekly (see Exhibit C, Case Review 3). Groups were very large, ranging
in size from 17 to 68, while the number of inmates who reasonably could fit into the
largest available group space was 42, and a smaller room for group activity could
accommodate fewer than 20. Staff cited pressure to offer at least ten hours weekly of

group treatment and provide individual weekly contacts as compromising the quality of

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treatment. Some groups were too large to be therapeutic. Staff placed inmates in groups
based on appraisals of clinical need, but group treatment was not treatment plan-driven.
Most groups were didactic, self-help or process oriented, rendering them inaccessible or
non-therapeutic to the lowest functioning EOP inmates.

Access to UHRs and the management of information were ongoing
concems. Audits found that UHRs were provided to staff for mental health contacts 86
percent of the time. There were anecdotal reports that the availability of UHRs depended
on the location or level of care of the inmate and that filing backlogs were approximately
two feet thick. Some UHRs reviewed by the monitor’s expert were incomplete,
disorganized or contained contradictory information (see Exhibit C, Case Reviews 2, 7).
Missing records of OHU or MHCB stays and laboratory tests were problematic. Mental
health staff continued efforts to improve information management but remained
dissatisfied with the accuracy of MHTS.

b. Non-compliance

The number of inmates in administrative segregation obstructed the
delivery of mental health treatment; the population had doubled within the preceding
year. During the monitor’s visit 28 caseload inmates were in administrative segregation;
during the monitoring period a total of 96 caseload inmates were held in administrative
segregation.

Inmates reported that psych tech rounds occurred daily, but records
indicated occasional gaps of one to two days in rounds. A sampling found that slightly
over half of inmates in administrative segregation were seen by a case manager during

their stays. Psych tech rounds were made daily, but case manager contacts were no

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longer provided weekly due to caseload sizes. IDTT meetings were timely and well
attended, but C-files were often missing.
Other Issues:

Eleven custody staff out on long term leave had not been trained in the
revised CPR policy and use of mouth shields. Institutional return-to-work policy
required completion of in-service training before reporting to a post. All housing units
had sealed and inventoried emergency response kits. There was a procedure for replacing
used items. Officers had been verbally instructed how to obtain replacement mouth
shields. An emergency response review committee met monthly and recorded minutes.
There were no incident reports of emergency responses involving caseload inmates.
Institutional Summary:

Vacancy rates among clinical positions were higher than in most recent
reviews. Vacancy rates remained near zero in other healthcare disciplines.

Among the four issues of focus for the round, mental health quality
management remained a work in progress. Information on the status of some important
aspects of medication management was unavailable or contradictory. Only 55 percent of
inmates who paroled with current orders for medication signed a receipt indicating that
they left with a supply of medication.

The use of mental health assessments in the disciplinary process remained
flawed. The quality of most assessments was inadequate quality, and some failed to
provide essential information. Hearing officers often misstated, omitted or rejected

assessment results and cited irrelevant authority in support of their decisions.

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At times access to DMH intermediate inpatient care was slowed by
delayed communication, but it was better than that available to male inmates. Inmates in
need of stabilization were transferred timely to MHCBs. Care provided in the CIW OHU
remained inadequate. Psychiatric coverage was fragmented; out-of-cell clinical contacts
occurred rarely; and confidential contacts were impossible. Suicide prevention practices
were problematic.

EOP inmates were transferred from administrative segregation to a hub

institution within 30 days, but the treatment and processing of EOP inmates needed
improvement. On average, reception EOP inmates designated for CIW’s general
population EOP unit were endorsed in 57 days, but 18 percent of cases exceeded
timeframes. EOP inmates were housed in the same unit with general population EOP
inmates, but they had access to fewer privileges and less treatment.

Resources for the treatment of EOP inmates were reported to be
inadequate, despite staff's efforts to operate at the highest possible level. Understaffing
and limited opportunity for clinical contacts were cited as major obstacles. Methods
used for calculating EOP treatment hours sometimes inflated the number actually offered.

The number of inmates in administrative segregation doubled during the
preceding year, making delivery of mental health treatment a challenge. Case manager
contacts did not occur weekly due to caseload sizes. IDTT meetings were compromised
by missing C-files and the rotation of IDTT duties among correctional counselors
unfamiliar with presented inmates. Access to UHRs and the management of information

were ongoing issues.

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CIW was in compliance with the revised CPR training requirements and
maintenance of emergency response kits.

California Rehabilitation Center (CRC)
April 6, 2006 -April 7, 2006

CRC’s sole senior psychiatry position was filled. Its 1.5 line positions
were vacant, with the full-time psychiatrist on indefinite medical leave and the half-time
position vacant. With use of contractors, the functional vacancy rate was 33 percent.

The senior psychologist position was filled. Two of 12 case manager
positions were vacant for a vacancy rate of 17 percent. Contractors covered an average
of 11 hours per month. The sole psych tech position was filled. The senior MTA
position was filled. Allocations of MTA positions increased from 14 to 21 under Plata
requirements, With two MTAs on leave, 2.47 positions were vacant; no contractors were
used and the vacancy rate was 21 percent.

Both senior RN positions were filled. With 27 line RN positions including
seven new Plata allocations and the use of registry nurses, the functional vacancy rate
was four percent. The pharmacy was fully staffed with a pharmacist II, two pharmacists
and five pharmacy techs. The equivalent of 1.5 of six allocated office tech positions were
vacant.

CRC’s total population of 4,624 included 961 inmates on caseload, all of
whom were 3CMS. Caseload capacity was exceeded by 62.

Quality Management:

The quality management committee, mental health subcommittee and the

suicide prevention committee met monthly and documented activities. The emergency

response review committee met monthly and kept minutes. Attendees included the

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warden, health care manager, associate warden, chief physician and facility captains.
Lack of participation by key persons hampered progress with long-term problems.

QITs addressed pill lines and OHU problems including under-staffing and
the conversion of a storage area into a suicide watch room. Lack of psychiatric
participation inhibited the institution’s ability to address medication misuse and poor
OHU practices

Psychologists engaged in peer review, but psychiatrist and social workers
did not for lack of numbers.

Case managers were instructed to collect inmates’ suicide history
information and submit it to office techs for entry into the MHTS.

Medication Management:

Medication continuity for newly arriving inmates was sustained. This was
corroborated by the monitor’s record reviews. A staff audit of continuity was sound in
method but was compromised when 41 of 47 MARs were missing for one month’s audit.
For the five cases with MARs, new arrivals received medication within 24 hours

For inmates transferred intra-institutionally, a single central pill line,
divided only by gender, ensured continuity but caused other problems. Waits for men
were long and led to high rates of non-compliance.

CRC had sound procedures for responding to medication non-compliance
which were thwarted by high volume of referrals and follow-ups. Non-compliance
consisted largely of cheeking of Wellbutrin and Seroquel, both of which were widely
used for bartering. Twenty six percent of the exclusively 3CMS caseload had

prescriptions for these medications.

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Staff audits of the procurement of informed medication consent forms
found a 90 percent level of compliance. Some interviewed inmates reported they had not
been informed of reasons for medication and possible side effects.

Despite CRC’s system for obtaining timely lab results and reviewing them
when the ordering psychiatrist was off site, the monitor’s sampling found that only 53
percent of 15 UHRs contained documentation of adequate laboratory studies for the use
of mood stabilizing medications.

Use of nurse-administered medication (NAM) and DOT medication orders
was confused. DOT was used for all inmates although policy called for NAM unless
DOT was ordered. Psychiatry did not order DOT in cases with histories of hoarding,
cheeking or other medication misuse. Many orders were written for administration with
crushed doses.

The chief psychiatrist believed that HS medication orders were obviated
because the evening pill line began at 7 p.m. and because he had concluded that only one
or two of his patients would benefit from it in any event. Some inmates reported
problems with sedation. Evaluation of the need for HS medication orders was needed.

CRC reportedly had a protocol to ensure that paroling inmates were
supplied with medication.

Mental Health Assessments for the Disciplinary Process:

This focus area was resolved during the preceding monitoring round.

Transfers:
CRC did not refer any inmates directly to DMH. Access was through

CIM and CIW.

Transfers to MHCBs were frequently delayed due to lack of beds.

AT
